                                                   U.S. Department of Justice
                                                   Civil Division


                                                               Tel: 202-305-8648


                                      December 4, 2024


Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

RE:   Texas v. United States Department of Homeland Security, No. 23-50869

Dear Mr. Cayce:

     The government respectfully writes with regard to the Court’s opinion of
November 27, 2024. See Dkt. 181 (“Op.”).

       The opinion’s introduction and conclusion use different language to describe
the injunction barring Defendants from damaging Texas’s concertina wire fence in
certain circumstances. In particular, the introduction limits the injunction to
circumstances where Defendants have necessary access to both sides of Texas’s
fence for both law enforcement and emergency purposes, see Op. at 3
(“Defendants are ENJOINED … where Defendants have the necessary access to
both sides of Texas’s c-wire for immigration law enforcement and emergency
purposes.”) (emphasis added), while the conclusion omits any reference to
emergency purposes, see id. at 42 (“where Defendants have the necessary access to
both sides of Texas’s c-wire for immigration law enforcement purposes”). The
judgment issued contemporaneously with the opinion mirrors the conclusion’s
language. See Dkt. 182 at 2.

      As the opinion notes, “[b]oth the Border Patrol and Texas agree that the c-
wire must be cut in the event of a medical emergency or to enforce federal
immigration law.” Op. at 5. Defendants accordingly do not understand the
Court’s language to preclude wire cutting where Defendants lack access necessary
to respond to an emergency. Accord, e.g., ROA.285 (district court’s temporary
restraining order, including exception “for any medical emergency that most[]
likely results in serious bodily injury or death to a person, absent any boats or other
life-saving apparatus available to avoid such medical emergencies prior to reaching
the concertina wire barrier”).




                                        Sincerely,

                                        /s/ Steven A. Myers
                                        Steven A. Myers

cc: all counsel (by ECF)
